This is a motion by Charles Trimble to appear and make himself a party defendant in this suit. On the 27th day of June, 1903, the relator filed in this court his petition against the respondent for a writ of mandamus to compel him as Commissioner of the General Land Office to award the relator certain sections of free school lands, which he had applied to purchase. On the 3d day of July thereafter Trimble made his application in due form of law to purchase the same sections, and as alleged by him complied with all the requirements of the statutes with respect to the sale of such lands. Upon the authority of the case of the Colquitt-Tigner Mining Co. v. Rogan, 95 Tex. 452, this motion must be overruled. Besides, Trimble being a purchaser pendente lite, should not be permitted to intervene and thereby delay or complicate the relator's action.
The motion is overruled.
Overruled. *Page 98 